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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 

MADISON RAUSCH, a minor, by and through
her Parents and Natural Guardians, REGINA .
RAUSCH and CHRISTOPHER RAUSCH, and : CIVIL ACTION NO. l7-CV-2527

REGINA RAUSCH and CHRISTOPHER
RAUSCH, in their own right : (Hon. C. Darnell Jones, Il)

V.

NEMOURS/ALFRED I. DUPONT
HOSPITAL FOR CHILDREN
THE NEMOURS FOUNDATION

 

JOINT STATUS UPDATE
In accordance With the Court Order of May 29, 2018, the parties advise the Court that they

have reached a settlement agreement, pending execution of a release.

Respectfully submitted,

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Date: 7 5' ig BY: ;. /

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